

Matter of Rongxuan Li (2025 NY Slip Op 01276)





Matter of Rongxuan Li


2025 NY Slip Op 01276


Decided on March 6, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 6, 2025

PM-66-25
[*1]In the Matter of Rongxuan Li, an Attorney. (Attorney Registration No. 5510474.)

Calendar Date:February 24, 2025

Before:Garry, P.J., Egan Jr., Clark, Aarons and McShan, JJ.

Rongxuan Li, Pittsburgh, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Rongxuan Li was admitted to practice by this Court in 2017 and lists a business address in Pittsburgh, Pennsylvania with the Office of Court Administration. Rongxuan Li now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Rongxuan Li's application.
Upon reading Rongxuan Li's affidavit sworn to December 21, 2024 and filed January 3, 2025, and upon reading the February 21, 2025 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Rongxuan Li is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Egan Jr., Clark, Aarons and McShan, JJ., concur.
ORDERED that Rongxuan Li's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Rongxuan Li's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Rongxuan Li is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Rongxuan Li is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Rongxuan Li shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








